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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          GALVESTON DIVISION

DICKINSON BAY AREA BRANCH §
NAACP, et al.,                   §
                                 §
               Plaintiffs,       §
                                 §
     v.                          §        Civil Action No. 3:22-cv-117- JVB
                                 §
GALVESTON COUNTY, TEXAS, et al., §
                                 §
                Defendants.      §

                                 §
TERRY PETTEWAY, et al.,          §
                                 §
            Plaintiffs,          §
                                 §
    v.                           §          Civil Action No. 3:22-cv-57-JVB
                                 §             [Lead Consolidated Case]
GALVESTON COUNTY, TEXAS, et al., §
                                 §
             Defendants.         §

                                 §
UNITED STATES OF AMERICA,        §
                                 §
              Plaintiff,         §
                                 §
     v.                          §          Civil Action No. 3:22-cv-93-JVB
                                 §
GALVESTON COUNTY, TEXAS, et al., §
                                 §
              Defendants.        §

          NAACP PLAINTIFFS’ RESPONSE IN OPPOSITION
       TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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                   I.    NATURE AND STAGE OF PROCEEDINGS

       Civil rights organizations and leaders Dickinson Bay Area Branch NAACP,

Mainland Branch NAACP, Galveston Branch NAACP, Galveston LULAC Council 151,

Edna Courville, Joe A. Compian, and Leon Phillips (“NAACP Plaintiffs” or “Plaintiffs”)

filed this action in April 2022 to challenge the new County Commissioners precincts

adopted by the Galveston County Commissioners Court in November 2021 (the “Enacted

Plan”) as racially gerrymandered, adopted with discriminatory purpose, and unlawfully

diluting the votes of Galveston’s Black and Latino voters. Having failed to secure dismissal

of any of NAACP Plaintiffs’ claims under Rule 12, see Doc. 123, Defendants Galveston

County, Galveston County Commissioners Court, and Dwight D. Sullivan now move for

summary judgment (“the Motion” or “MSJ”) on two of Plaintiffs’ four claims: the results-

based claim of vote dilution under Section 2 of the Voting Rights Act of 1965 (“VRA”)

and racial gerrymandering under the Fourteenth Amendment of the U.S. Constitution.

                        II.   SUMMARY OF THE ARGUMENT

       Presented with conclusive evidence supporting Plaintiffs’ claims in discovery,

Defendants seek to move the goalposts by asserting heightened and legally baseless hurdles

for these claims in their Motion. But none of Defendants’ arguments refutes the reality that

the Enacted Plan, which systematically dismantles the sole and long-standing majority-

minority Commissioner Precinct in Galveston County, represents a textbook case of vote

dilution and racial gerrymandering.

       The Court must deny summary judgment on Plaintiffs’ Section 2 claim. Defendants’

argument that Section 2 does not protect minority coalitions defies binding precedent. Their

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contention that Plaintiffs cannot satisfy Gingles I is untenable, given that it is not only

possible, but in fact easy to draw a reasonably compact majority Black/Latino precinct

based solely on traditional race-neutral principles. Defendants also fail to lodge coherent

criticism against several of Plaintiffs’ illustrative maps. At most, they ask this Court to

make credibility determinations and resolve evidentiary disputes that are plainly

inappropriate on summary judgment.

       As to Gingles II and III, the unchallenged statistical evidence shows that a

supermajority of Black/Latino voters in Galveston vote for the same candidates, and a

supermajority of Anglos bloc vote in opposition to defeat minority-preferred candidates in

every single precinct of the Enacted Plan. This is bolstered by qualitative evidence of racial

bloc voting. Unable to effectively rebut this evidence, Defendants instead engage in a

parade of fruitless arguments: improperly attempting to shift their burden of showing race-

neutral considerations instead explain Galveston’s dramatic racial polarization onto

Plaintiffs, then relying on unreliable statistical evidence, all while ignoring Plaintiffs’

evidence that race plays an inextricable role in Galveston politics.

       Summary judgment is also inappropriate on the racial gerrymandering claim.

Defendants have enacted a textbook racial gerrymander by cracking Galveston’s Black and

Latino population nearly equally between all four Enacted Commissioners’ Precincts.

Their post hoc justifications in the form of inadmissible hearsay to point to race-neutral

criteria cannot explain the contours of the Enacted Plan. Rather, the evidence shows that

race unconstitutionally predominated. The Motion should be denied.



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                           III.   STATEMENT OF FACTS

   A. Galveston County’s Black and Latino Residents Form a Community of Interest.

      Galveston County’s growing minority populations primarily reside in communities

along I-45 from Dickinson to the City of Galveston and east to Galveston Bay, roughly

coterminous with Commissioners Court Precinct 3 as it existed for decades. Doc. 176-2 ¶¶

38, 81 (Cooper Report). Due to the enduring legacy of discrimination and systemic racism,

Galveston County’s Black and Latino residents lag behind Anglo residents in a variety of

socioeconomic measures, including income, education, employment, health, and housing.

Id. at ¶ 40; see also Ex. 1 at 22–30 (Burch Report); Ex. 2 at 262:18–263:5 (Mainland

NAACP/Rice-Anders Dep.); Ex. 3 at 97:18–99:19 (Armstrong Dep.). For example, Black

and Latino residents face unique challenges in getting medical care that Anglos do not,

which is exacerbated by a distrust of healthcare systems due to historic mistreatment. Ex.

4 at 195:26–197:16 (LULAC/Compian Dep.); Ex. 5 at 47:4–49:8 (Galveston NAACP

Dep.); Ex. 2 at 77:5–78:19 (Mainland NAACP/Rice-Anders Dep.); Ex. 6 at ¶¶ 4–5

(Compian Decl.). Natural disasters disproportionately impact the Black and Latino

community, which often receives less government recovery funding. Ex. 4 at 216:11–

217:24 (LULAC/Compian Dep.); Ex. 1 at 29 (Burch Report); Ex. 6 at ¶ 6 (Compian Decl.).

Similarly, Black and Latino residents are treated unequally with regard to routine

infrastructure maintenance. Ex. 5 at 203:5–205:21 (Galveston NAACP Dep.).

      Black and Latino residents also face unique barriers to equal political representation.

In the recent past, this Court directed the County in a 1992 consent order to create two

majority-minority justice of the peace (“JP”) and constable precincts, see Hoskins v.

                                             3
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Hannah, 3:92-cv-12, ECF No. 61 (S.D. Tex. Aug. 19, 1992), which were subsequently

eliminated. Ex. 7 at ¶ 4 (Quintero Decl.). The County came under another consent decree

in 2007 requiring it to comply with the VRA and other obligations to provide Spanish

language assistance to voters, United States v. Galveston County, 3:07-cv-00377, ECF No.

5 (S.D. Tex. July 2007), yet there are continuing issues with insufficient Spanish language

resources. Ex. 6 at ¶ 12 (Compian Decl.). Latino voters havefaced increasing intimidation

and misinformation when voting in recent years, which has taken place in an environment

of generally deteriorating race relations. Id. at ¶ 11; Ex. 8 at 197:1–198:5 (Courville Dep.);

Ex. 7 at ¶¶ 6–11 (Quintero Decl.). And in 2011, the County failed to gain Department of

Justice (“DOJ”) preclearance for new Commissioners Court and JP/constable precinct

maps (drawn using the same consultant, Dale Oldham, as in 2021) that would have diluted

minority voting power. Doc. 176-7 (2012 DOJ Objection). Minority voters have also

protested the proposed closure of polling places in predominantly Black and Latino

neighborhoods. Ex. 8 at 165:11–169:14 (Courville Dep.); Ex. 9 (Exhibit 12 to Courville

Dep.); Ex. 6 at ¶ 9 (Compian Decl.). Further, there is evidence of explicit racial

discrimination against candidates and campaigners of color, racial appeals in campaigns,

and less-explicit modes of exclusion such as campaign materials not translated into

Spanish. 1




1
 See, e.g., Ex. 7 at ¶ 7 (Quintero Decl.); Ex. 22 at 29–35 (Stephens-Dougan Report); Ex. 4 at 176:8–179:16
(LULAC/Compian Dep.); Ex. 24 at 165:3–7 (Johnson Dep.); Ex. 16 at 32:11–16 (Giusti Dep.); Ex. 10 at
318:4–319:21 (Dickinson Bay Area NAACP/Lofton Dep.); Ex. 14 at 25:9–22 (Nov. 12 Hr’g Tr.).


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        To combat these challenges, Plaintiffs, long-standing community leaders and

organizations, work collaboratively on shared issues critical to Galveston’s Black and

Latino community. 2 Community members rely on Commissioner Stephen Holmes, who

had been the only minority representative on the Commissioners Court since 1999, to

champion the issues important to them and do not expect the same level of support from

Commissioners under the newly Enacted Plan. 3 Having a minority representative at

Commissioners Court has also been critical to fostering Black and Latino leaders at other

levels of county and municipal government within the Precinct 3 community. Ex. 4 at 91:4–

25 (LULAC/Compian Dep.); Ex. 6 at ¶ 14 (Compian Decl.). Even Galveston County

minority residents who do not live within Commissioner Holmes’s former precinct,

“Benchmark” Precinct 3, turn to him for advice and see him as a leader representing their

interests. Ex. 10 at 332:19–21 (Dickinson Bay Area NAACP/Lofton Dep.); Ex. 5 at 90:9–

22 (Galveston NAACP Dep.); Ex. 11 at 24:11–18 (Williamson Dep.).

    B. The Commissioners Court Dismantles Benchmark Precinct 3 in the Enacted Plan.

        The Enacted Plan cracks Galveston’s Black and Latino community, once largely

included in Benchmark Precinct 3, among all four of its new Commissioners Precincts. See



2
 See, e.g., Ex. 8 at 34:9–15, 35:14–36:4, 40:9–17, 194:8–15, 207:14–20 (Courville Dep.) (education, social
services, working with LULAC); Ex. 25 at 25:12–25, 31:15–32:3 (Phillips Dep.) (policing and housing);
Ex. 4 at 59:18–19, 172:11–174:7, 213:11–215:7 (LULAC/Compian Dep.) (shared membership in
community organizations; infrastructure and healthcare access); Ex. 5 at 16:8–20, 61:20–62:5 (Galveston
NAACP Dep.) (2012 redistricting and collaboration with LULAC); Ex. 10 at 69:7–70:18 (Dickinson Bay
Area NAACP/Lofton Dep.) (business collaboration with LULAC); Ex. 6 at ¶¶ 4–10 (Compian Decl.)
(COVID, disaster relief, school funding, electoral access).
3
 See, e.g., Ex. 8 at 112:6–24, 199:16–200:9 (Courville Dep.); Ex. 4 at 92:1–17 (LULAC/Compian Dep.);
Ex. 25 at 33:22–34:15 (Phillips Dep.); Ex. 11 at 21:22–25, 23:18–24:18, 64:6–20 (Williamson Dep.); Ex.
6 at ¶¶ 13–17 (Compian Decl.); Ex. 7 at ¶¶ 8–11 (Quintero Decl.).
                                                    5
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App’x A-3 (2021 Enacted Plan with Benchmark Precinct 3 Overlay); Doc. 176-2 ¶ 17

(Cooper Report). The Commissioners Court adopted this plan in a redistricting cycle

markedly different from past cycles, in a process plagued by Defendants’ delay and lack

of transparency. With no prior public disclosure, Defendants once again hired Oldham as

a redistricting consultant as early as April 2021, Ex. 12 at 136:7–10 (Henry Dep.), but

thereafter failed to take any action until shortly before the November 13, 2021 statutory

deadline. In 2011, the Commissioners Court presented Census data results and two initial

proposals, then held five public hearings throughout the County to solicit input, before a

final meeting presenting new proposals that incorporated changes based upon public

comment. Ex. 13 (2011 Preclearance Letter at 10). By contrast, in 2021 the Commissioners

Court failed to announce any Census data results, and did not hold any public hearings,

propose any maps, or provide timelines or even an opportunity for public comment until

October 29, 2021, just two weeks before the November 13, 2021 statutory deadline. Ex. 12

at 159:19–22, 160:1–5, 163:21–164:25, 290:9–17 (Henry Dep.); Ex. 1 at 14–17 (Burch

Report). On November 12, the Commissioners Court held just one meeting for public

comment and a vote, meaning there was no opportunity for members to publicly consider

or make changes to draft maps pursuant to public commentary. Ex. 14 at 26:13–27:5 (Nov.

12 Hr’g Tr.). In further contrast to prior standard practice, the Commissioners Court failed

to publicly discuss or disclose redistricting criteria that might be used to draw or adopt new

maps. Ex. 12 at 126:20–25, 128:1–4 (Henry Dep.); Ex. 15 at 112:6–114:15 (Apffel Dep.).

       Instead, Defendants assiduously avoided any public discussion of their intentions

toward redrawing precinct lines. They deliberately flouted the requirements of the Texas

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Open Meetings Act, Tex. Gov. Code § 554.143, by meeting with Oldham and other

redistricting consultants in groups of two or fewer Commissioners behind closed doors

starting in September. Ex. 12 at 214:19–22, 215:1–4 (Henry Dep.); Ex. 15 at 129:4–18,

162:10–21 (Apffel Dep.). And they later tried to hide any evidence of their behind-the-

scenes deliberations through wholesale and improper privilege assertions. See, e.g., Doc.

177 (Ord. Granting Mot. to Compel). Though they disclaimed redistricting with partisan

goals, see, e.g., Ex. 12 at 257:3–7 (Henry Dep.); Ex. 15 at 193:6–8 (Apffel Dep.); Ex. 16

at 138:19–25 (Giusti Dep), the Commissioners Court and Oldham have not specifically

disclaimed racial motivations, and they did receive racial breakdowns of Galveston County

and each precinct in each map proposal. See, Doc. 176-32 (Oldham Decl.); Ex. 17 at 12

(“% BNH VAP” and “% HISP VAP” columns in “Pop Pivot” tab); Ex. 18 at 3 (“Hispanic”

and “Black” columns).

      On October 29, 2021, the County first posted images of two map proposals, devoid

of demographic or other data analysis, along with an online comment portal. Ex. 12 at

227:24–229:1 (Henry Dep.). Map 1 closely resembled the map the DOJ objected to in 2011,

compare App’x A-4 with Ex. 13 at 22 (2011 Preclearance Letter, Ex. C), and Map 2 (the

Enacted Plan) made dramatic changes to the Benchmark Plan. See App’x A-3; Ex. 12 at

217:22–218:2 (Henry Dep.). The comment portal did not provide a meaningful way for

constituents to voice concern—Commissioners Court members reviewed only a handful of

the public comments, Ex. 15 at 190:16–191:1 (Apffel Dep.); Ex. 12 at 273:19–276:2

(Henry Dep.); Ex. 16 at 135:6–21 (Giusti Dep.), and many residents, especially Black and

Latino senior citizens, have difficulty accessing the internet. Ex. 10 at 166:11–23

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(Dickinson Bay Area NAACP/Lofton Dep.).

       Then, with the minimum 72-hour notice (at most) and little fanfare, the

Commissioners Court scheduled a special meeting on November 12, 2021 to hear public

comment and vote on the maps. See Ex. 1 at 17–19 (Burch Report). Rather than the larger

County seat used for regular meetings, this lone public redistricting hearing was held at the

smaller League City Annex building, at the time under construction. See id. The room was

so small, there was no room for Holmes at the dais, and he sat by himself at a small white

table below. 4 Despite hearing from Commissioner Holmes and many Galveston County

residents, including Plaintiffs and their members, about the discriminatory effects of both

proposed maps, Judge Mark Henry, Commissioner Darrell Apffel, and Commissioner Joe

Giusti voted in favor of the Enacted Plan (Map 2), without any significant discussion or

rationale. Judge Henry mentioned only a tally of public comments received online

supporting Map 2 over Map 1, a tally which failed to account for the hundreds of comments

rejecting both maps, including those that criticized them as racially discriminatory. See Ex.

14 at 61:14–62:10 (Nov. 12 Hr’g Tr.); Ex. 1 at 20–21 (Burch Report). As discussed in the

reports of Plaintiffs’ expert William Cooper (Docs. 176-2, 176-29), Defendants’ post hoc

rationales cannot justify a whole-scale remapping of every precinct and the destruction of

the only precinct that preserved minorities’ ability to elect the candidate of their choice.




4
   See Galveston County Commissioners Court Special Meeting, at 10:05 (Nov. 12,
2021), https://livestream.com/accounts/21068106/events/6315620/videos/227296657?origin=stre[…]c-
404c0628-140000-155bc7a4b821a6&acc_id=30028131&medium=email.
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                            IV.    STANDARD OF REVIEW

       Summary judgment is only appropriate when there is no genuine issue of material

fact and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c).

On a motion for summary judgment, courts “refrain from making credibility

determinations or weighing the evidence.” Turner v. Baylor Richardson Med. Ctr., 476

F.3d 337, 343 (5th Cir. 2007). Instead, “the court must consider all evidence in the light

most favorable to the nonmoving party, and resolve all reasonable doubts about the facts

in favor of the nonmoving party.” Wiley v. Bay City Indep. Sch. Dist., No. 3:20-CV-119,

2022 WL 4368155, at *2 (S.D. Tex. Sept. 21, 2022) (internal citations omitted).

                                     V.    ARGUMENT

   A. Defendants’ Motion as to Plaintiffs’ VRA Section 2 Claim Should Be Denied.

       Plaintiffs may prove unlawful vote-dilution under Section 2 of the VRA by

satisfying three preconditions: (1) the minority population “is sufficiently large and

geographically compact to constitute a majority in a single-member district” (“Gingles I”);

(2) the minority group or coalition is “politically cohesive” (“Gingles II”); and (3) “the

white majority votes sufficiently as a bloc to enable it . . . usually to defeat the minority’s

preferred candidate” (“Gingles III”). Thornburg v. Gingles, 478 U.S. 30, 50–51 (1986). If

the preconditions are met, the Court must determine whether, under the “totality of the

circumstances,” “the political process is equally open to minority voters.” Id. at 79.

       Here, the analyses of Plaintiffs’ experts conclusively show that Galveston’s Black

and Latino voters satisfy all three Gingles preconditions. Put simply, Galveston’s Black

and Latino voters have had both the opportunity and track record of electing their shared

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candidate of choice to the Commissioners Court for decades, and it is undisputed that the

Enacted Plan will “cancel out their ability to” do so in the future if it is not struck down by

this Court. Id. at 48. Defendants ignore both the law and facts related to all three

preconditions and fail even to address the “totality of the circumstances.” Id. at 79. Their

Motion should be denied as to this claim.

           i.   Section 2 of the VRA Protects Coalition Districts.

          Defendants’ argument that Section 2 does not protect minority coalitions (MSJ at

22–24) 5 should be summarily rejected. As Defendants acknowledge, the Fifth Circuit has

long held that minority coalitions are protected under Section 2. Id. at 17; see also, e.g.,

Campos v. City of Baytown, 840 F.2d 1240, 1244 (5th Cir. 1988). The Fifth Circuit’s

holdings remain binding on this Court. See Campbell v. Sonat Offshore Drilling, 979 F.2d

1115, 1121 n.8 (5th Cir. 1992). As this Court aptly noted, “[a]pplying Section 2 to protect

minority coalitions is necessary and appropriate to ensure full protection of the Fourteenth

and Fifteenth Amendments rights.” Doc. 125 at 13–14 (internal quotations omitted).

          ii.   Galveston County’s Black and Latino Populations Satisfy Gingles I.

          Defendants’ request for summary judgment on Gingles I is baseless. All expert

evidence adduced to date demonstrates that Galveston County’s Black and Latino

populations are “sufficiently large and geographically compact to constitute a majority in

a single-member district,” Gingles, 478 U.S. at 50, specifically, here, a Citizen Voting Age

Population (“CVAP”) majority. This is true “tak[ing] into account ‘traditional districting



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    All page numbers of docketed briefs and orders cited refer to the numbers inserted by the CM/ECF system.


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principles such as maintaining communities of interest and traditional boundaries.’”

Abrams v. Johnson, 521 U.S. 74, 92 (1997) (quoting Bush v. Vera, 517 U.S. 952, 977

(1996)). Thus, it is indisputable that “the minority has the potential to elect a representative

of its own choice” in a single-member district. Growe v. Emison, 507 U.S. 25, 40 (1993).

       The illustrative maps drafted by Plaintiffs’ expert William Cooper, who has over

three decades of redistricting experience and has served as an expert in approximately 50

federal court voting rights cases, prove that a majority-Black/Latino precinct could “be

easily constructed by adhering to only race-neutral traditional redistricting principles.”

Doc. 176-2 ¶¶ 2, 21 (emphasis added). The three examples he provides—out of many

possible iterations—each follow race-neutral traditional redistricting criteria: Map 1, a

“least-change” from the Benchmark Map to equalize populations, id. at ¶¶ 81–82; Map 2,

a “least-change” that both equalizes populations and creates a coastal precinct, id. at ¶¶ 87–

88; and Maps 3 and 3A, which prioritize placing all of Bolivar Peninsula, Pelican Island,

and Galveston Island in a single precinct, among other traditional, race-neutral criteria. Id.

at ¶¶ 92–93; Doc. 176-29 ¶ 35; App’x A (compilation of maps). Even under the most

onerous proposed interpretations of Gingles I, Plaintiffs satisfy this precondition.

       In seeking summary judgment on this issue, Defendants advance arguments that

lack purchase in the record or misapply the relevant law:

       1. Defendants’ arguments that Cooper failed to consider traditional redistricting

principles in his plans and instead drafted “racial gerrymanders” are directly contradicted

by the sworn statements Cooper provided in his reports describing the race-neutral criteria

he followed. See Doc. 176-2 ¶¶ 81, 86–87, 91–92, 95; Doc. 176-29 ¶¶ 7, 29–34. Cooper

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categorically rejected having subordinated traditional redistricting criteria to draw a

majority-minority district in any of his plans. See Ex. 19 at 100:10–25 (Cooper Dep.).

Defendants ignore this testimony, and instead rely on vague, conclusory, and unsupported

statements about varying education and home ownership levels (MSJ at 29) and precinct

population statistics (id. at 32) unrelated to the criteria Cooper applied to draw his

illustrative maps. Further, resolving Defendants’ unfounded contentions would at least

require the Court to assess Cooper’s evidence and weigh his credibility, which is

inappropriate on summary judgment. Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S.

133, 150 (2000) (“[A court] may not make credibility determinations or weigh the

evidence” in ruling on a motion for summary judgment.).

       2. Defendants’ argument that the illustrative plans join “disparate and distinct

minority communities” is belied by the reasonable compactness of the illustrative maps.

See Doc. 176-2 ¶¶ 86, 91, 95 (Cooper Report). For example, Defendants’ own expert

compiled tables of compactness scores that show Cooper’s Map 3 creates an illustrative

Precinct 3 that has a higher (and thus better) Reock compactness score than each of the

Enacted Map’s precincts. See Doc. 176-8 at 16 (Owens Report, Table 10, “Enacted Map”

and “Cooper Illus 3” rows). Defendants cannot credibly argue that this Gingles I

demonstrative district is not reasonably compact while defending their own gerrymander.

       3. Given the reasonable compactness of the illustrative plans, Defendants’ attempts

to argue Galveston’s Black and Latino populations are nonetheless “distant” and

“disparate” fail. This is contradicted by the actual population distribution of the County, in

which Black and Latino residents are “concentrated in communities along I-45 extending

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from Dickinson to the City of Galveston and east to Galveston Bay,” and thus “roughly

coterminous with Benchmark Precinct 3” and one other precinct. Doc. 176-2 ¶ 38 (Cooper

Report). Defendants’ assertion that Plaintiffs’ maps “extend[] considerable distances . . .

often splitting voting precincts in the process” (MSJ at 31) rings hollow given that three of

Cooper’s maps split fewer populated voting precinct splits than the Enacted Plan, and all

of Cooper’s illustrative Precinct 3s span either comparable or smaller distances than

precincts in the Enacted Plan. 6 As for their repeated reliance on Sensley v. Albritton, that

case concerned a smaller county of 22,803 persons split among 9 districts, and in fact

supports Plaintiffs’ arguments. 385 F.3d 591, 593 (5th Cir. 2004). The challengers there

were accused of improperly “disrupting the core of the preexisting electoral district (a black

majority district),” as well as “separat[ing] distinct communities and disrupt[ing]

relationships between incumbents and constituents, which had existed over the years and

continued to exist under the [county’s] new plan.” Id. at 597–98. Here, Plaintiffs are the

ones seeking to preserve the core of districts, maintain communities of interest, and

continue relationships between incumbents and their long-standing constituents, which

Defendants improperly disrupted via the Enacted Plan.

       4. The in-depth, granular analysis Cooper performed shows definitively that

Galveston’s Black and Latino population shares common attributes across all

socioeconomic markers. Cooper examined these factors both across the County and among




6
 The 2021 Enacted Plan has four populated VTD splits, Ex. 26 at 4 (Cooper Ex. F-3C), while Cooper Map
1 has just one, id. at 14 (Cooper Ex. I-3C), and Cooper Maps 3 and 3A have just 3, id. at 24 (Cooper Ex.
K-3C) and 29 (Cooper Rebuttal Ex. E-3C).
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its municipalities and Census Designated Places with populations greater than 2,500. Doc.

176-2 ¶¶ 39–43. Defendants do not dispute that Anglos “outpace African Americans and

Latinos across a broad range of socioeconomic measures,” including income, education,

employment, and housing. Id. at ¶ 40. Instead, they harp on minor variances among

populations in League City, an irrelevant fact given that disparities “persist even in League

City” and, in any event, “none of [Cooper’s] illustrative plans place substantial portions of

League City in Precinct 3.” Doc. 176-29 ¶ 13 (Cooper Rebuttal). 7

        5. Next, Defendants wrongly assert that any plan based upon Benchmark Precinct 3

is automatically a racial gerrymander. The use of traditional boundaries as a starting point

is a well-recognized race-neutral redistricting criterion. See Abrams, 521 U.S. at 92 (any

Gingles I analysis “should take into account . . . communities of interest and traditional

boundaries”) (citation omitted). Precinct 3 has existed for decades in a substantially similar

form. See Ex. 13 (2011 Preclearance Letter, Ex. D). This, paired with the common

demographic and socioeconomic factors of residents in this area, indicates it is an

“established community of interest.” Doc. 176-2 ¶ 81 (Cooper Report). Unrebutted

testimony confirms the shared interests of communities living on those portions of




7
 Defendants also attempt to fabricate a requirement that Cooper somehow analyze socioeconomic factors
of populations by precinct—but fail to specify what this analysis might entail much less cite to precedent
or authority requiring it. MSJ at 41–42. The Wisconsin Legislature v. Wisconsin Elections Commission
decision they rely on merely held a party cannot rely upon “generalizations to reach the conclusion that the
preconditions were satisfied.” 142 S. Ct. 1245, 1250 (2022). It provides no support for rejecting Cooper’s
municipality analysis or requiring the unspecified “precinct” analysis Defendants imply is required.
Defendants’ own expert used even bigger units, Galveston’s four Census County Divisions, in an unreliable
analysis using boundaries that have no modern relevance to redistricting. See Doc. 176-29 ¶ 9 (Cooper
Rebuttal). Cooper’s more granular socio-economic analysis by municipality, Exhibit D to his report, can be
downloaded online at http://www.fairdata2000.com/ACS_2015_19/Galveston/.
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Galveston Island, the mainland, and in the unincorporated areas of Dickinson that comprise

the Benchmark Precinct 3. See supra Section III.A; Robinson v. Ardoin, 37 F.4th 208, 219

(5th Cir. 2022). It is thus not only reasonable but expected that map-drawers would use a

least-change approach. In fact, that appears to be how Defendants’ alternative Map 1 was

drawn. See, e.g., Ex. 20 (Oct. 16, 2021 1:55am email discussing “minimum change

scenario”); Ex. 12 at 352:13–16 (Henry Dep.) (“[a]bsolutely” considering Map 1 as a

“viable option”); Doc. 176-32 at ¶ 15 (Oldham Decl.) (concluding that Map 1 “complied

with the U.S. Constitution and the [VRA]”).

       But even if the original boundaries of Benchmark Precinct 3 were drawn conscious

of race, that would not impact Cooper’s least-change illustrative plans. Defendants misstate

the appropriate legal standard, asserting that “[i]f race is considered when drawing a district

(as Plaintiffs do in their illustrative plans), there must be a ‘strong basis in evidence’ for

doing so.” MSJ at 27 (citing Bethune-Hill v. Va. State Bd. of Elections, 580 U.S. 178, 194

(2017)). But Bethune-Hill makes clear, it is racial predominance, not mere consideration,

that requires this showing. 580 U.S. at 193–94. Cooper subordinated his use of Benchmark

Precinct 3’s boundaries to other race-neutral criteria in his least-change approaches to

Illustrative Maps 1 and 2. Doc. 176-2 ¶¶ 81, 87. This approach renders irrelevant the case

upon which Defendants primarily rely, Jacksonville Branch of the NAACP v. City of

Jacksonville; there, legislative statements showed that “maintaining high BVAP

percentages in the minority access districts was the criterion that could not be

compromised.” No. 3:22-cv-493, 2022 WL 7089087, at *46 (M.D. Fla. Oct. 12, 2002).

Defendants ignore that “[r]acial consciousness in the drawing of illustrative maps does not

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defeat a Gingles claim.” Robinson, 37 F.4th at 222.

       In any event, Defendants never assert that race was a predominating factor in

Cooper’s Illustrative Maps 3 and 3A, which are not least-change plans and thus not

susceptible to Defendants’ misplaced concerns regarding racial gerrymandering.

Moreover, neither of these illustrative maps includes the components of the Benchmark

Precinct 3 that Defendants criticize. Compare MSJ at 38–39 (criticizing Benchmark

Precinct 3’s “narrow point of contiguity” and 3-precinct split of Galveston Island) with

App’x A-7 and A-8 (Cooper Maps 3 and 3A).

       As Defendants have no legitimate complaints against Cooper’s Illustrative Maps 3

and 3A, and these maps show that Galveston’s Black and Latino populations are

sufficiently numerous and geographically compact to form a majority CVAP in a single

district, Plaintiffs have satisfied Gingles I. Defendants’ arguments to the contrary ignore

the record or are legally unsupportable. At best, Defendants have shown disputes as to

material issues of fact that preclude summary judgment.

      iii.   There Is Legally Significant Racially Polarized Voting in Galveston County.

       In requesting summary judgment on the second and third Gingles preconditions,

Defendants completely elide the applicable legal standards for assessing racially polarized

voting (“RPV”), and otherwise engage in a series of strawman arguments.

       Plaintiffs satisfy the Gingles II precondition by showing that “a significant number

of minority group members usually vote for the same candidates.” LULAC v. Abbott, 604

F. Supp. 3d 463, 495 (W.D. Tex. 2022) (quoting Gingles, 478 U.S. at 56) (emphasis added).

“The necessary size of the majority. . . . is a district-specific inquiry.” Id. at 495 n.22. For

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coalition districts, the Fifth Circuit assesses Black and Latino voters “as a whole”—i.e., as

one “minority group” under Gingles—to determine “whether the minority group together

votes in a cohesive manner[.]” Campos v. City of Baytown, 840 F.2d 1240, 1245 (5th Cir.

1988). Statistical evidence is typically important, but it is “not a sine qua non to

establishing cohesion,” Brewer v. Ham, 876 F.2d 448, 454 (5th Cir. 1989), and “lay witness

testimony concerning cooperation between the minority groups” is relevant. Perez v.

Abbott, 274 F. Supp. 3d 624, 669 (W.D. Tex. 2017), rev’d and remanded on other grounds,

138 S. Ct. 2305 (2018). The third Gingles factor is present when the “white majority votes

sufficiently as a bloc to enable it . . . usually to defeat the minority’s preferred candidate.”

Gingles, 478 U.S. at 90. “When both minorities and Anglos vote in blocs, courts conclude

that voting is ‘racially polarized’ and typically hold that both the second and third

preconditions have been met.” LULAC v. Abbott, No. 3:21-CV-259-DCG-JES-JVB, 2022

WL 17683191, at *3 (W.D. Tex. Dec. 14, 2022).

       Defendants do not challenge the numerical accuracy of NAACP Plaintiff Expert Dr.

Kassra Oskooii’s ecological inference (“EI”) or election performance analysis. Ex. 21 at

11:8–11, 45:25–46:10 (Alford Dep.). And this analysis shows legally significant RPV.

       Dr. Oskooii’s EI analysis plainly satisfies the Campos and Gingles standards for

minority cohesion. His district-specific analysis of data from 25 recent elections shows that

Galveston’s Black/Latino voters overwhelmingly support a candidate of choice in every

election in each of Cooper’s illustrative plans at average rates above 87%. See Doc. 176-

48 ¶¶ 61–62, Figures 13, 14. A “significant” majority of the Black/Latino population “as a

whole” therefore usually votes for the same candidates and is cohesive. Campos, 840 F.2d

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at 1243, 1245 (citing Gingles, 478 U.S. at 56). Similarly, the white bloc analysis shows

that Anglos vote in opposition to minority-preferred candidates at average rates of about

87, 77, 88, and 85 percent in the four enacted precincts. Doc. 176-48 ¶ 56, Figures 11, 12

(Oskooii Report). Dr. Oskooii concludes there is “very clear and highly consistent Anglo

bloc voting in each of the four Commissioner Precincts.” Id. at ¶ 56. Defendants do not

dispute that this severe white bloc vote defeats every minority-preferred candidate in every

enacted Precinct. See id. at ¶ 71, Figure 17.

       In addition to EI, Dr. Oskooii’s reconstituted election results independently confirm

the legal significance of RPV in Galveston. This analysis is important because it is based

on actual election results, not estimated vote shares. The percentage of Anglo voters in an

Enacted Precinct corresponds directly on a 1:1 basis with the severity of loss for minority-

preferred candidates. For example, the newly-enacted Precinct 3 has the highest Anglo

CVAP percentage (71.6%) in the Enacted Plan, and it performs the worst for minority-

preferred candidates, with “clear and definitive” 35-point margin losses. See supra n.7;

Doc. 176-48 ¶ 71 (Oskooii Report). The second most Anglo district performs second worst,

and so on. 8 By contrast, under any demonstrative precinct with a majority Black/Latino

CVAP, the minority-preferred candidates win. Id. at ¶ 75, Figure 18. Galveston’s RPV

therefore exemplifies the circumstances described in Gingles: that “minority and majority

voters consistently prefer different candidates” such that “the majority, by virtue of its

numerical superiority, will regularly defeat the choices of minority voters,” thus denying


8
  Compare Doc. 176-2 at ¶ 58 (Cooper Report, Fig. 11 of Enacted Plan’s CVAP levels) with Doc. 176-48
at ¶ 71 (Oskooii Report, Fig. 17 of Enacted Plan’s performance analysis).
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minorities an equal opportunity to elect representatives of their choice. 478 U.S. at 48.

Since Defendants cannot dispute the clear evidence of RPV, they instead seek to move the

goalposts, asking this Court to apply inflated standards that lack a basis in applicable law.

       1. Defendants argue that cohesion breaks down when Black and Latino voters are

analyzed separately, but this implies an inquiry that courts reject and is also unsupported

by the facts. See Campos, 840 F.2d at 1245, n.6 (rejecting separate cohesion inquiries as

statistically fraught and focusing on “the minority group as a whole”). Instead, the only

important intra-group determination is that “black-supported candidates receive a majority

of the Hispanic . . . vote [and] Hispanic-supported candidates receive a majority of the

black . . . vote . . . in most instances[.]” Brewer, 876 F.2d at 453. So “[i]f the evidence were

to show that the Blacks vote against a Hispanic candidate, or vice versa, then the minority

group could not be said to be cohesive.” Campos, 840 F.2d at 1245. But Defendants do not

argue, and could not show, that Galveston’s Black and Latino voters oppose each other.

Indeed, Dr. Oskooii’s analysis shows that Black and Latino voters consistently prefer the

same candidates by decisive supermajorities. See Doc. 176-48 at ¶¶ 40–52. Accordingly,

the Court must consider Black and Latino voters as a “whole,” as Dr. Oskooii has.

       2. Although primary election data has little utility in RPV analysis (a fact

Defendants ignore), Dr. Oskooii’s primary election analysis also supports cohesion.

Primary analysis is less informative or reliable than general election analysis because of

low turnout, the auxiliary role primaries play in the political process, and the closer

ideological positions of primary candidates. See Doc. 176-48 ¶ 24; accord Texas v. United

States, 887 F. Supp. 2d 133, 174–75 (D.D.C. 2012), vacated on other grounds and

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remanded, 570 U.S. 928 (2013); Patino v. City of Pasadena, 230 F. Supp. 3d 667, 694

(S.D. Tex. 2017); Perez v. Pasadena Indep. Sch. Dist., 958 F. Supp. 1196, 1225 (S.D. Tex.

1997), aff’d, 165 F.3d 368 (5th Cir. 1999). The value of primaries or other very low turnout

elections can also be limited because, as data becomes sparser, it becomes less informative,

which makes estimation more difficult and potentially less precise. In this context,

ecological analysis relies on applying statistical models to aggregate demographic and

election data for a unit, like a voting precinct. When only a tiny percentage of voters in a

unit turn out, it is less certain that some minimum portion of the vote is attributable to a

particular demographic group. 9 Indeed, Defendants’ expert Dr. John Alford has recognized

issues with ecological analysis of low turnout elections. See Pasadena Indep. Sch. Dist.,

958 F. Supp. at 1220.

        Notwithstanding those caveats, Dr. Oskooii’s analysis shows that Black and Latino

voters prefer the same candidates an estimated 90% of the time in primaries. Doc. 176-48

¶¶ 63–65. Further, even Dr. Alford’s “replicated” analysis of Dr. Trounstine’s recent

primaries shows that Black and Latino voters in Democratic primaries shared the same first

choice candidate in 7 out of 8 contests. Doc. 176-47 at 18. Accordingly, even primary

analysis supports that Black and Latino voters are cohesive and should be treated as a single

minority group protected by Section 2. See Campos, 840 F.2d at 1245 (“The key is the


9
  Cf. Alabama State Conf. of NAACP v. Alabama, 612 F. Supp. 3d 1232, 1276 (M.D. Ala. 2020) (describing
as an example of the method of bounds in EI a hypothetical “where a precinct has 100 voters, of which 75
are black and 25 are white, and the black candidate receives 80 votes. In this hypothetical, at least 55 of the
black voters (80 minus 25) voted for the black candidate and at most all 75 did.”). However, if, in that
Alabama example, only 10% of registered voters show up at the polls (10 total votes), there is no reason
that Anglos could not make up 100% of that very small number of voters despite being only 25% of the
voting population. Thus, the data is potentially far less informative.
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minority group as a whole.”). Furthermore, analysis of Democratic primaries in Galveston

holds no probative value to evaluating white bloc voting because, as Dr. Alford

acknowledges, it is “clear” most Anglos voting in primary elections do so in the Republican

primaries. Ex. 21 at 93:23–94:3; see also Doc. 176-49 ¶ 8 (Oskooii Rebuttal).

        3. Defendants’ implication that cohesion exists only when the constituent minority

groups have electoral variances of less than 10% has no basis in law or logic. See MSJ at

44. The case they rely on, LULAC v. Clements, 999 F.2d 831, 864–65 (5th Cir. 1993),

stands for the opposite conclusion. The Fifth Circuit determined that Black-Latino

cohesion did exist in counties where Black-Latino voting percentages differed by more

than 10% because—as is the case here—“in those counties a significant number of blacks

and Hispanics usually voted for the same candidates.” Clements, 999 F.2d at 864–65.

Defendants cite no precedent for declining to treat a minority coalition as a group because

different-sized majorities of the constituent parts voted for the same candidate.

        Besides lacking legal foundation, bright-line rules such as 10% variance or Dr.

Alford’s unsupported 75% cohesion suggestion 10 make little practical sense. Such rules

would in part be premised on the notion that one can pinpoint in every election a precise

voting percentage of every demographic group. But not every ecological estimate is equally

informative given that various factors in the data can lead to different levels of precision.



10
  Of note, this is not the first time Dr. Alford has manufactured a threshold for a party seeking to prevent
a Section 2 challenge. See Lopez v. Abbott, 339 F. Supp. 3d 589, 609 (S.D. Tex. 2018) (Dr. Alford
“advocated a higher threshold for finding legally significant minority political cohesion. (recommending
requiring 80 to 90%) . . . . [but] did not articulate any factual or methodological reason for his opinion and
he agreed that Hispanics voted cohesively for their preferred candidate. His testimony that over 70% was
required for compliance with Gingles is not corroborated in the briefing.”) (internal citation omitted).
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It was exactly this type of concern that led the Campos court to reject discrete cohesion

inquiries for each constituent part of a minority group. 840 F.2d at 1245 n.6. Rather, courts

do, and should, look at all relevant evidence to determine whether “a significant number of

minority group members usually vote for the same candidates” and the white majority votes

as a bloc “that normally will defeat the combined strength of minority support.” Gingles,

478 U.S. at 56 (emphasis added). When all relevant evidence is considered, “Galveston

County does not present a borderline case.” Doc. 176-48 at ¶ 12 (Oskooii Report).

       4. Finally, Defendants ignore the ample qualitative evidence of cohesion, which

itself requires denying their Motion given that “Gingles allows minority voters to prove

their political cohesiveness even in the absence of statistical evidence of racial

polarization.” LULAC v. Clements, 986 F.2d 728, 743 (5th Cir. 1993), on reh’g, 999 F.2d

831 (5th Cir. 1993). In Galveston, Black and Latino communities are tied together through

a common history of discrimination which has led to facing shared socio-economic and

political barriers. See supra, III.A; V.A.ii. In the face of this, Black and Latino communities

have actively organized and advocated together through the political process to address the

issues that are uniquely important to their minority communities and support candidates

who are responsive to their needs. Id. But by drawing every single Black and Latino voter

into majority Anglo districts, Defendants construct a map that allows them to “ignore

[these] interests without fear of political consequences . . . leaving the minority effectively

unrepresented.” Gingles, 478 U.S. at 48 n.14 (internal citation omitted).

       In sum, there is ample statistical and qualitative evidence that Black and Latino

voters in Galveston are politically cohesive, defeating Defendants’ Motion.

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      iv.   Galveston’s White Bloc Voting Cannot Be Dismissed as Mere Partisanship.

       Defendants’ contention that Gingles is not satisfied because “Plaintiffs cannot show

that race—not partisan politics—accounts for . . . White-bloc voting,” MSJ at 55, fails

legally and factually. The Fifth Circuit has squarely rejected placing an evidentiary burden

in the first instance on Plaintiffs to negate the role of partisanship, Teague v. Attala County,

92 F.3d 283, 290 (5th Cir. 1996), and this Court rightfully rejected Defendants’ attempt to

impose this burden at the pleading stage. Doc. 123 at 34–35. Defendants double-down on

this legal fallacy by arguing that “Plaintiffs have a negative causative requirement” to

disprove partisanship and “cannot carry their burden.” MSJ at 50. But Plaintiffs have

satisfied Gingles with evidence of significant RPV, and thus it is now Defendants’ burden

to show that these voting patterns are best explained by non-racial phenomena; the Court

must then weigh all available evidence. See, e.g., Teague, 92 F.3d at 290; Lopez v. Abbott,

339 F. Supp. 3d 589, 604 (S.D. Tex. 2018); Rodriguez v. Harris County, 964 F. Supp. 2d

686, 760 (S.D. Tex. 2013), aff’d, 601 F. App’x 255 (5th Cir. 2015). Because partisanship

and race can be correlated, the ultimate inquiry requires a “searching practical evaluation

of the past and present reality . . . [and] courts should not summarily dismiss vote dilution

claims in cases where racially divergent voting patterns correspond with partisan

affiliation.” Clements, 999 F.2d at 860–61 (cleaned up, emphasis added).

       Defendants incorrectly believe they can simply invoke the “partisan” mantra to

dismiss extreme racial bloc voting without explaining what they actually mean by “partisan

politics.” MSJ at 49. But Defendants have a burden to explain how partisanship in the

County is not tinged by racial considerations. See Clements, 999 F.2d at 861 (“[W]e do not

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indulge in the hopeful yet unrealistic assumption that decisions to support particular

political parties among black and white voters in all cases rest on issues other than race.”).

“A longstanding finding in political science is that most Americans do not think of politics

in coherent, ideological ways. Rather . . . , research indicates that people tend to think about

parties in terms of [social] groups,” including racial groups. Ex. 22 at 7 (Stephens-Dougan

Report) (internal citations omitted). Defendants do not explain what race-neutral

consideration they contend partisan labels represent, much less offer any affirmative

evidence to counter the unambiguous evidence of racially divergent voting patterns. Their

expert concedes that he did not conduct any analysis of voter motivations, nor did he

analyze whether any variable, including voters’ partisan identification or political ideology

(which he concedes are distinct and not necessarily correlated concepts), is more correlated

with voting patterns in Galveston than the race of the voters. Ex. 21 at 19:9–13, 20:9–12,

77:15–78:7, 83:24–84:20 (Alford Dep.). He engages only in speculatively re-

characterizing Plaintiffs’ evidence. 11 Defendants thus have failed to adduce evidence that

would meet their burden, and certainly have not established as a matter of law that race is

not a significant explanation for voting patterns.

        Factually, there is ample evidence in Galveston of racial polarization that cannot be

rebutted or explained by mere partisanship. The case on which Defendants singularly rely,


11
   Several other courts have criticized, and declined to adopt, Dr. Alford’s method of analysis. See Robinson
v. Ardoin, 605 F. Supp. 3d 759, 840–41 (M.D. La.), cert. granted before judgment, 142 S. Ct. 2892 (2022)
(finding “Dr. Alford’s opinions border on ipse dixit. . . . unsupported by meaningful substantive analysis
and [] not the result of commonly accepted methodology in the field.”); Alpha Phi Alpha Fraternity Inc. v.
Raffensperger, 587 F. Supp. 3d 1222, 1306–07 (N.D. Ga. 2022) (collecting cases criticizing Dr. Alford and
his approach, including five Texas courts finding in favor of minority plaintiffs on Gingles II and III
contrary to Dr. Alford’s testimony).
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Clements, primarily rested its partisanship finding on two factors not present here: (1) white

voters constituted a majority of both political parties and “30-40% of white voters

consistently support Democrats, making white Democrats more numerous than all of the

minority Democratic voters combined,” and (2) “both political parties, and especially the

Republicans, aggressively recruited minority lawyers to run on their party’s ticket”

meaning voters were “not infrequently voting against candidates sharing their respective

racial or ethnic backgrounds.” 999 F.2d at 861. By contrast, in Galveston, there is minimal

crossover voting by Anglo voters: Dr. Oskooii’s analysis shows that Anglos in Galveston

support Democratic candidates at percentages in the low teens—less than half the rate as

in Clements. See Doc. 176-48 ¶¶ 40–43, 47–48, 61–62. And across 20 years, Defendants

point to just two instances of white Republicans supporting minority candidates: the 2018

election between Ted Cruz and Beto O’Rourke and a 2004 race for County Commissioner.

See MSJ at 46, 50–51.12

        As Dr. Oskooii points out, there is not a single popularly elected Republican in

Galveston County government that outwardly presents as a person of color, whereas every

elected Democrat presents as a person of color. Doc. 176-49 ¶ 7. When minority success

within a political party is practically nonexistent, this “is a strong indication that partisan

choice does not explain the inability of white voters to support the Latino-preferred



12
   Besides being outdated, the 2004 race has little relevance here given that more Anglos in Galveston
supported the Democratic party at that time. See Ex. 15 at 22:21–23:7, 23:17–20 (Apffel Dep.). Anglos
shifting to the Republican party after 2010 corresponds with the increasing racialization of political parties
after Barack Obama’s 2008 election. See Ex. 22 at 22–24 (Stephens-Dougan Report) (describing research
finding that “[s]ince 2008, . . . many racially resentful whites have outright fled the Democratic party”).


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candidate, but is more consistent with racial block voting.” Rodriguez, 964 F. Supp. 2d at

776–77; cf. Ex. 3 at 57:3–7 (Armstrong Dep.) (“For the NAACP leadership and for the

LULAC leadership, there are probably no opportunities to – to rise to leadership in the

Republican party.”); Ex. 7 at ¶ 5 (Quintero Decl.).

        As for the 2014 County Judge race between Republican Mark Henry and

Independent Bill Young, Defendants err when they contend this shows partisan

considerations overtaking racially polarized voting. MSJ at 51. Rather, it is an example of

the statistical peril of analyzing anomalous elections without proper context. Election

results from 2014 show that roughly 16% fewer voters participated in the County Judge

race (53,360) compared to other contested countywide elections (~62,000), and Judge

Henry received fewer votes than other countywide Republican candidates. Ex. 23 (2014

General Election Returns). 13 Given that (1) Judge Henry received fewer total votes than

other countywide Republicans and (2) Latinos were otherwise voting at rates over 70% for

Democratic candidates in 2014, see Doc. 176–4 at 17 (Barreto Report, App’x A Table 1),

the logical conclusion would not be that most Latinos suddenly switched to support

Republican Henry, but rather that most did not vote in that race and some supported Young.

        Additionally, Defendants ignore entirely the report of Dr. LaFleur Stephens-

Dougan, a political scientist and expert in race, ethnicity, and politics who studies the role

of race in partisanship. Noting that most Americans no longer espouse overtly racist


13
  These election results were produced by Defendants in a difficult-to-read technical format. They are also
available at https://www.galvestonvotes.org/home/showpublisheddocument/7305/637595458881430000
in a more accessible format. For the Court’s convenience, Plaintiffs request judicial notice of the Galveston
County website’s publication of those results. See Cicalese v. Univ. of Texas Med. Branch, 456 F. Supp. 3d
859, 871 (S.D. Tex. 2020) (“[G]overnmental websites are proper sources for judicial notice.”).
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opinions, she describes historical strategies, gold-standard surveys, and sociological

experiments that show how political actors sometimes deploy seemingly racially-neutral

language to activate engrained racial considerations and stereotypes in voters. Ex. 22 at

14–24 (Stephens-Dougan Report). And she offers local examples that illustrate the deep

connection between race and partisan identification, opining that “Galveston County,

Texas fits the well-accepted academic model of racial and partisan alignment,” id. at 35,

where Republican voters view the Democratic party as a “vehicle for advancing

distinctively minority interests.” Clements, 999 F.2d at 860–61. Her unrebutted report is

precisely the kind of non-statistical, “analytical evidence of voter polarization” that courts

use to inform racially polarized voting patterns, see Robinson v. Ardoin, 605 F. Supp. 3d

759, 845 (M.D. La.), cert. granted before judgment, 142 S. Ct. 2892 (2022), and blocks

Defendants’ attempts to undermine Plaintiffs’ conclusive statistical evidence of RPV.

       Finally, lay testimony illustrates the role of racial considerations in white bloc

voting. Residents think of race and party as interchangeable proxies for each other in

Galveston. Ex. 8 at 212:25–214:6 (Courville Dep.); Ex. 11 at 81:16–24 (Williamson Dep.);

Ex. 3 at 49:22–50:11 (Armstrong Dep.); Ex. 16 at 30:7–24, 284:14–21 (Giusti Dep.); cf.

Patino, 230 F. Supp. 3d at 703–04. Whether or not the Anglo-elected officials are

responsive to minority communities “is intimately related” to the legal significance of bloc

voting because if there is bloc voting, it “allows those elected to ignore [minority] interests

without fear of political consequences.” Clements, 999 F.2d at 857. Here there is evidence

that Galveston’s Anglo/Republican elected officials are unaware of issues facing or are

unresponsive to the minority community. See, e.g., supra, III.A; Ex. 8 at 214:7–215:13

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(Courville Dep.); Ex. 16 at 285:16–287:5 (Giusti Dep.); Ex. 15 at 86:4–88:2, 300:3–6

(Apffel Dep.); Ex. 12 at 66:3–16 (Henry Dep.); Ex. 7 at ¶¶ 8–11 (Quintero Decl.) Evidence

also shows explicit and implicit racial discrimination in campaigns and barriers to political

participation for communities of color. See supra, III.A.

       In sum, Defendants misstate the framework for assessing the legal significance of

racial bloc voting when race and partisanship are highly correlated. But under the

appropriate standards, Plaintiffs’ evidence shows that the racially divergent voting patterns

in Galveston are closely linked to race and satisfy the Gingles preconditions.

   B. The Court Should Deny Defendants’ Motion for Summary Judgment on Plaintiffs’
      Claim of Racial Gerrymandering.

       The Enacted Plan is a “textbook example of a racial/ethnic gerrymander,” cracking

Galveston’s substantial Black and Latino population nearly equally between all four

Enacted Precincts. Doc. 176-2 ¶¶ 17–18 (Cooper Report). Defendants do not (and cannot)

dispute the demographic reality of their plan, which contravenes the very purpose of the

Fourteenth Amendment’s prohibition on a government “‘separat[ing] its citizens into

different voting districts on the basis of race’” without “sufficient justification.” Bethune-

Hill v. Va. State Bd. of Elections, 580 U.S. 178, 187 (2017) (quoting Miller v. Johnson, 515

U.S. 900, 911 (1995)). Importantly, a bizarre shape is not required to show a district is

racially gerrymandered, because even a compact district can be gerrymandered when its

lines are “considered in conjunction with [the district’s] racial and population densities.”

Miller, 515 U.S. at 913, 916. And race may unconstitutionally “predominate even when a

reapportionment plan respects traditional principles.” Bethune-Hill, 580 U.S. at 189.


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       Evidence adduced in discovery makes clear there are material factual disputes as to

whether “race was the predominant factor motivating the legislature’s decision to place a

significant number of voters within or without a particular district.” Cooper v. Harris, 581

U.S. 285, 291 (2017) (quoting Miller, 515 U.S. at 916). Defendants’ assertions about the

map-drawing process reinforce that such disputes exist to preclude summary judgment.

       Defendants would have this Court believe that they promulgated and followed a

discrete set of redistricting criteria, not one of which had a racial aspect. But the record

here establishes the opposite. In a deviation from established past practice, the

Commissioners Court never adopted or disclosed redistricting criteria during the 2021

process. Ex. 12 at 94:20–22, 125:22 (Henry Dep.). As a result, the County electorate had

no insight into what factors would be considered in drawing or adopting new precinct lines.

       Defendants now argue they applied a defined set of criteria in drafting and adopting

the Enacted Plan, citing their counsel’s hearsay interrogatory responses that set forth a list

of six purported criteria. See Doc. 176-34. But deposition testimony from County Judge

Henry and Commissioners Apffel and Giusti reveal this interrogatory response to be no

more than a post hoc fabrication. Each witness testified under oath they did not request,

apply, or even fully understand these criteria. Ex. 12 at 249:16–20 (Henry Dep.); Ex. 15 at

136:5–137:21 (Apffel Dep.); Ex. 16 at 53:2–21 (Giusti Dep.). And Judge Henry, who

certified those interrogatory responses, stated unequivocally he depended on counsel to

draft them without consulting the Commissioners who voted for the Plan. Ex. 12 at 247:21–

23 (Henry Dep.). These interrogatory responses are inadmissible hearsay that contradict

sworn testimony and have no bearing on the criteria actually applied in drawing the

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Enacted Plan. See Bethune-Hill, 580 U.S. at 189–90 (“The racial predominance inquiry

concerns the actual considerations that provided the essential basis for the lines drawn, not

post hoc justifications the legislature in theory could have used but in reality did not.”).

       Here is what that evidence at trial will show: The factors that were actually

considered in drafting and adopting the Enacted Plan render its configuration inexplicable

unless race predominated in its drafting. When the government seeks to achieve particular

goals, “the ‘predominance’ question concerns which voters the legislature decides” to

move to achieve those goals. Ala. Legislative Black Caucus v. Alabama, 575 U.S. 254, 273

(2015). Here, “it was just plain as day obvious” it was not necessary to wholly dismantle

benchmark Precinct 3 and crack Galveston’s Black and Latino populations to achieve

Defendants’ goals. Ex. 19 at 85:2–4 (Cooper Dep.).

       Equalizing populations was the predominant consideration, according to Judge

Henry and Commissioners Apffel and Giusti. Ex. 12 at 249:16–20 (Henry Dep.); Ex. 15 at

208:25–209:4 (Apffel Dep.); Ex. 16 at 53:11–19 (Giusti Dep.). But the Enacted Plan “did

not follow a simple redistricting solution to population imbalances resulting from the 2020

Census,” i.e., shifting two VTDs to balance populations, and instead was an unnecessary

“full-scale remap,” which eliminated the sole existing majority-minority district while

“fundamentally altering the geographic population configurations of all four commissioner

precincts.” Doc. 176-2 ¶¶ 53, 81, 83 (Cooper Report). In any event, “legislative effort[] to

create districts of approximately equal population” is “taken as a given” and not a factor

that weighs against race predominating in a given plan. Alabama, 575 U.S. at 271–72.



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       Judge Henry also testified that the overriding preference driving his adoption of the

Enacted Plan was a desire for a coastal precinct. Ex. 12 at 175:2–11 (Henry Dep.). But as

Cooper Illustrative Maps 2, 3, and 3A all show, this consideration also did not require the

cracking of Galveston’s Black and Latino populations. See Doc. 176-2 ¶ 54; Doc. 176-29

at 12. Nor would the more minor considerations, such as residency addresses, mentioned

by Commissioner Giusti. Ex. 16 at 138:19–25 (Giusti Dep.).

       Even the post hoc criteria developed by counsel in interrogatory responses did not

require the systematic cracking of the Black and Latino population in the Enacted Plan. As

noted above, Cooper’s illustrative plans prove that ensuring reasonable compactness,

limiting VTD and municipal splits, and respecting incumbency were all possible without

cracking Black and Latino communities. See supra Section V.A.ii. And as for the final

criterion that any plan should “reflect[] the partisan composition of Galveston County,”

Doc. 176-34 at 9, Judge Henry, Commissioner Apffel, and Commissioner Giusti all

disclaimed having any partisan aims in voting for the Enacted Plan. See, e.g., Ex. 12 at

257:3–7 (Henry Dep.); Ex. 15 at 193:6–8 (Apffel Dep.); Ex. 16 at 138:19–25 (Giusti Dep.).

And even if it were considered, “reflect[ing] the partisan composition” of the County would

favor preserving at least one Democratic-leaning precinct, given Galveston tends to vote

just above 60% Republican. See, e.g., Doc. 176-28; Ex. 12 at 43:7–12 (Henry Dep.).

       Additional evidence confirms that Defendants “subordinated traditional race-

neutral districting principles . . . to racial considerations.” Bethune-Hill, 580 U.S. at 187

(quoting Miller, 515 U.S. at 916). For example, the Enacted Plan completely disregarded

the well-established traditional criteria of respecting traditional boundaries, preserving core

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districts, and ensuring consistency in representation between constituents and incumbents.

See App’x A-3 (2021 Enacted Plan with Benchmark Precinct 3 Overlay); see also, e.g.,

Sensley v. Albritton, 385 F.3d 591, 598 (5th Cir. 2004) (rejecting plans that “ignor[ed] that

traditional municipal boundary and disrupt[ed] the core of the preexisting electoral

district”). Defendants also decided not to take any measures to assess, much less prevent,

unconstitutional vote dilution. To the contrary, Judge Henry and Commissioner Apffel

testified that they specifically disfavored Precinct 3 because they viewed it as a racial

gerrymander. Ex. 12 at 241:8–19 (Henry Dep.); Ex. 15 at 263:21–265:15 (Apffel Dep.).

But there is no evidence they took steps to confirm this fact or even to assess whether

preservation of a majority-minority district was required. See Abbott v. Perez, 138 S. Ct.

2305, 2335 (2018) (rejecting state’s explanation when it could “point[] to no actual

‘legislative inquiry’ that would establish the need for its manipulation of the racial makeup

of the district”).

       Defendants misrepresent Plaintiffs’ claims and applicable law in arguing that

“maintaining prior district boundaries to preserve a minority-opportunity district that was

drawn on the basis of race is, in itself, a form of unconstitutional racial sorting.” MSJ at

56. First, this is not an accurate description of Plaintiffs’ racial gerrymandering claim,

which alleges that race predominated in the drawing of the Enacted Plan, not just that a

failure to work from benchmark Precinct 3 was itself unconstitutional. NAACP First Am.

Compl. at ¶ 150, No. 3:22-cv-117, Doc. 38. Second, neither case on which Defendants rely

supports that a least-change approach here would be unconstitutional. As noted above, the

court in Jacksonville Branch of the NAACP held that “maintaining high BVAP percentages

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in the minority access districts was the criterion that could not be compromised,” despite

public commentary and reports from Black voters and leaders that packing Black voters

was not necessary for their ability to vote for the candidate of their choice. 2022 WL

7089087, at *8–23, 46. Walters v. Boston City Council is even less on point, as there the

“the concept of ‘core retention’ was not a focus of discussion” by the City Council, which

instead focused on racial quotas such as “60% of non-white or ideally pushing it higher.”

No. CV 22-12048-PBS, 2023 WL 3300466, at *10, 12 (D. Mass. May 8, 2023). Here, by

contrast, Defendants were aware that Black and Latino voters needed a district similar to

Precinct 3 to have any chance of electing their candidate of choice based on their own

political experience, the prior objections by the Department of Justice, and public

comments. See, e.g., Ex. 12 at 225:23–226:1 (Henry Dep.). And Defendants cite no direct

evidence that the configuration of Benchmark Precinct 3 was due to a racial quota or race

predominating in its drafting.

       Instead, the evidence shows that Defendants intentionally crafted a map with the

predominating feature of dismantling Precinct 3 and cracking Black and Latino voters

among all four new precincts when such a result was otherwise unnecessary to achieve

Defendants’ stated goals. That Defendants sought to do this is all the more striking given

that the County failed preclearance in the prior redistricting cycle due to potential

discriminatory purpose in diluting minority voting power in Precinct 3. Doc. 176-7 (2012

DOJ Objection). Seen in context, the fact that each of the four Commissioners precincts in

the Enacted Plan had roughly the same percentage of Black and Latino CVAP in them

strongly suggests use of a racial target, one of the most direct forms of evidence of a racial

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gerrymander. See, e.g., Cooper, 581 U.S. at 300; Alabama, 575 U.S. at 267.

       Even the specific boundaries of the Enacted Plan reveal that cracking minority

voters at the voting precinct level predominated over other considerations. Despite a

purported goal of minimizing voting precinct splits, the Enacted Plan split longtime voting

precinct 336, which has the highest Black CVAP in the County and is considered a strong

community of interest. See Ex. 17 (Galveston Blocks Data tab showing highest Black

population in Precinct 336); Ex. 8 at 167:9–22 (Courville Dep.); Ex. 14 at 16:3–13 (Nov.

12 Hr’g Tr.). “Splitting precincts, especially when doing so is contrary to a legislature’s

stated redistricting criteria, can support a finding of discriminatory intent.” LULAC v.

Abbott, 617 F. Supp. 3d 622, 632 (W.D. Tex. 2022).

       Thomas Bryan’s declaration that he was never instructed to consider racial

demographic data to draft the Enacted Plan does not help Defendants’ case. Bryan’s

analyses contain detailed racial data and, in the analyses sent to the Commissioners Court,

color-coded shading indicated where the highest percentages of minorities live in each map

proposal. Ex. 17 at 12 (“Pop Pivot” tab). Courts have discredited testimony that a

mapdrawer used only partisan data when drawing maps when the mapdrawer gave “self-

contradictory testimony” that indicated actual use of race. Cooper, 581 U.S. at 315. Here,

too, the Court should be suspicious of Bryan’s stated process and objectives and, at the

very least, must give the non-moving party the benefit of any doubt.

      Moreover, Bryan did not work in isolation, but rather at the direction of Dale

Oldham and others who have not disclaimed relying on race. See generally, Doc. 176-32

(Oldham Decl.). Furthermore, Oldham fed Bryan information based on conversations with

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members of the Commissioners Court, as well as third parties, all of which determined

what kind of draft maps would be offered as options. Id. at ¶¶ 8–14; Doc. 176–36 ¶ 8 (Bryan

Decl.). And not only did Judge Henry and the Commissioners understand the racial

geography of their County while giving this input, see, e.g., Ex. 12 at 53:22–54:20 (Henry

Dep.), Oldham also received detailed racial data, broken down to the block level as well as

by draft Commissioners’ precincts when he was advising on the map configurations. See

Ex. 17; Ex. 18. Oldham cannot reasonably deny understanding the racial demographics of

Galveston County, given his experience with the 2011 redistricting cycle. See S.C. State

Conf. of NAACP v. Alexander, No. 21-CV-03302-MGL-TJH-RMG, 2023 WL 118775, at

*2 (D.S.C. Jan. 6, 2023) (“[C]laims that an experienced map drawer did not consult racial

data in drawing the plan ring ‘hollow[.]’”) (quoting Cooper, 581 U.S. at 314).

       Given this direct and circumstantial evidence, Plaintiffs can make a “showing

sufficient to support” an allegation of race-based decision-making that could overcome

even the presumption of good faith in redistricting. Miller, 515 U.S. at 915. It is up to the

trial court to “perform a ‘sensitive inquiry into[’]” whether race predominated in the Plan’s

development and adoption. Prejean v. Foster, 227 F.3d 504, 509 (5th Cir. 2000) (quoting

Hunt v. Cromartie, 526 U.S. 541 at 546 (1999)). Accordingly, this issue cannot be

appropriately determined on summary judgment.

                                  VI.    CONCLUSION

   For the reasons set forth above, Defendants’ Motion for Summary Judgment should be

denied in full.

   Respectfully submitted this 2nd day of June, 2023.

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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 2, 2023, the foregoing document, its appendix,

and its exhibits were filed electronically (via CM/ECF), and that all counsel of record were

served by CM/ECF.

                                                             /s/ Hilary Harris Klein




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                                APPENDIX A

          TO NAACP PLAINTIFFS’ RESPONSE IN OPPOSITION

       TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT



Excerpt of Commissioners Precinct Configurations from January 13, 2023 Report of

 William Cooper (Doc. 176-2) and March 27, 2023 Rebuttal Report (Doc. 176-29).




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Appendix A-1: Benchmark Plan 14




14
     Figure 6 from Cooper Report (Doc. 176-2 at 17).
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Appendix A-2: 2021 Enacted Plan 15




15
     Figure 8 from Cooper Report (Doc. 176-2 at 20)§.


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Appendix A-3: 2021 Enacted Plan with Benchmark Precinct 3 Overlay 16




16
     Figure 9 from Cooper Report (Doc. 176-2 at 21).
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Appendix A-4: 2021 Proposed Plan 1 17




17
     Figure 12 from Cooper Report (Doc. 176-2 at 27).
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Appendix A-5: Cooper Illustrative Map 1 18




18
     Figure 14 from Cooper Report (Doc. 176-2 at 30).
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Appendix A-6: Cooper Illustrative Map 2 19




19
     Figure 16 from Cooper Report (Doc. 176-2 at 33).
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Appendix A-7: Cooper Illustrative Map 3 20




20
     Figure 18 from Cooper Report (Doc. 176-2 at 35).
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Appendix A-8: Cooper Illustrative Map 3A 21




21
     Figure 3 from Cooper Rebuttal Report (Doc. 176-29 at 12).
                                                     9
